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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 UNITED STATES OF AMERICA,                        :
                                                  :           Case No. 2:15-CR-080
                Plaintiff,                        :           Case No. 2:14-CR-127
                                                  :
        v.                                        :           Judge Algenon L. Marbley
                                                  :
 ROBERT B. LEDBETTER, et al.                      :
                                                  :
                Defendants.                       :

                                      OPINION & ORDER

        This matter comes before the Court on Defendant Robert B. Ledbetter’s motion to

 suppress all evidence seized as a result of a traffic stop on December 18, 2007, as well as various

 cell phone records obtained without search warrants in 2006 and 2008, (Doc. 600). Ledbetter

 argues that the traffic stop and follow-on Terry frisk and vehicle search were unlawful. He also

 argues that the government’s acquisition of his cell phone records in connection with subpoenas

 (as opposed to search warrants) violated the Fourth Amendment and the Stored Communications

 Act. For the reasons that follow, the Court DENIES Ledbetter’s motion to suppress.

                                        I. BACKGROUND

        Ledbetter is one of twenty defendants facing trial for his alleged involvement in the Short

 North Posse, an alleged criminal organization that operated in the Short North area of Columbus,

 Ohio, from 2005 until 2014. He faces nine charges, including one count of RICO conspiracy,

 four counts of murder in aid of racketeering, two counts of murder through use of a firearm

 during and in relation to a drug trafficking crime, one count of use of a firearm during and in

 relation to a crime of violence, and one count of conspiracy to murder a witness. Ledbetter is

 scheduled to stand trial with the first group of defendants, beginning April 4, 2016.


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        The Court held a suppression hearing on November 16, 2015, at which the following

 findings of fact were adduced based on the testimony of Columbus Police Department Detective

 John Whitacre and Columbus Police Officers Duane Mabry and Kevin George.

                            A. The December 18, 2007 Traffic Stop

        The Government named Ledbetter in several overt acts related to the alleged RICO

 conspiracy, including Overt Act Number Fifty-One, which alleges as follows: “On or about

 December 18, 2007, near the intersection of Cole Street and Miller Avenue, in Columbus, Ohio,

 the defendant, ROBERT B. LEDBETTER . . . possessed a 9mm Smith and Wesson pistol,

 $45,000 in US currency, crack cocaine, and marijuana.” (Doc. 300).           On May 29, 2015,

 Ledbetter moved to suppress all evidence related to this overt act. (Doc. 600).

                                    1. The Initial Traffic Stop

        Detective Whitacre, who at the time served on the Columbus Police Department’s

 Strategic Response Bureau, was conducting surveillance at 2595 Nona Road on the evening of

 December 18, 2007. Detective Whitacre testified that the residence had been under surveillance

 for roughly a month due to suspected drug trafficking. While there, Detective Whitacre observed

 a man exit a GMC conversion van and enter the residence. Roughly five minutes later, that man,

 later identified as Robert Ledbetter, left the house carrying an unknown object and drove away.

 Detective Whitacre called Officer Mabry, with whom he had worked narcotics details in the past,

 and requested that Mabry initiate an investigative stop of the van. Detective Whitacre was

 driving an unmarked vehicle at the time and thus could not make a stop himself. Officer Mabry,

 however, was driving a marked cruiser with his partner, Officer George, and thus, could make a

 stop. Detective Whitacre did not relay any pertinent details about his surveillance; he merely

 requested that Officer Mabry stop the van to see who was inside and what they were doing.



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        Following this initial communication, Detective Whitacre tailed Ledbetter for

 approximately two and a half miles before observing the van run a red light at the intersection of

 Fairwood Avenue and Livingston Avenue. Detective Whitacre again contacted Officer Mabry

 via cell phone to convey what he had observed. Officers Mabry and George, who were en route

 based on their initial phone call with Detective Whitacre, then picked up the van traveling

 northbound on Kelton Avenue. Soon after, the officers observed the van cross a solid divided

 line without signaling and immediately afterward make a left-hand turn onto Cole Street without

 properly signaling. At that point, the officers activated their cruiser’s lights and siren.

        Ledbetter did not immediately stop. Instead, he completed his turn onto Cole Street,

 slowed down in an apparent feint to pull over, sped up, and then finally pulled over for good at

 the intersection of Cole Street and Miller Avenue. Officers Mabry and George testified that

 Ledbetter traveled the length of one city block before finally stopping, although both officers

 characterized it as an unusually long city block due to its adjacency to the freeway. The Court

 takes judicial notice that Ledbetter would have traveled approximately one-tenth of a mile before

 finally stopping based on the officers’ testimony regarding initiation and completion of the stop.

        The officers approached the van and spoke with the driver (later identified as Ledbetter)

 and passenger (later identified as Brandis D. Roberts). According to Officer Mabry, Ledbetter

 was turned toward the passenger seat with his hands near the center console when the officers

 first approached. Officer Mabry, who approached the driver’s side of the vehicle, noticed that

 Ledbetter was sweating profusely, breathing heavily, and had glassy eyes and shaky hands.

 Officer George, who approached the passenger’s side of the van, observed that Ms. Roberts

 seemed verbally nervous, would not make eye contact, and became defensive when asked where

 she and Ledbetter had been that evening.



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                                        2. The Terry Frisk

        In light of the officers’ personal observations, including Ledbetter’s failure to pull over

 his vehicle promptly, Officer Mabry ordered Ledbetter to step out of the van. He then escorted

 Ledbetter to the back of the police cruiser and conducted a Terry frisk for suspected weapons.

 While conducting the frisk, Officer Mabry felt a large bulge in Ledbetter’s front right pants

 pocket, which the officer believed to be a stack of money. Officer Mabry then pulled the U.S.

 currency out of Ledbetter’s pocket to ensure there were no weapons under the stack of money.

 Officer Mabry repeated the same exercise with respect to Ledbetter’s other pocket, from which

 he also removed a large stack of U.S. currency. In total, Ledbetter had nearly $5,500 in cash on

 his person. While continuing the frisk, Officer Mabry felt yet another bulge in Ledbetter’s back

 pants pocket that he believed to be a bag of drugs. When asked whether he was carrying crack

 cocaine, Ledbetter replied, “No, it’s marijuana.” Officer Mabry then removed a clear plastic bag

 of marijuana from Ledbetter’s pocket and placed him in the backseat of the cruiser. Officer

 Mabry testified that he did not place Ledbetter in handcuffs at this time because he was unarmed

 and had only a minor amount of marijuana on his person.

                                3. The Follow-On Vehicle Search

        After Officer Mabry advised Officer George of the results of the frisk, Officer George

 began searching the passenger area of Ledbetter’s van for weapons and other contraband.

 Officer George noticed that the entire interior had custom, non-factory upgrades. Officer George

 further testified that, based on his training and experience, extensive non-factory upgrades like

 this often created unnatural voids in vehicles in which drug dealers conceal their narcotics or

 firearms. Moreover, while searching the vehicle, Officer George found two plastic grocery bags

 containing bulk U.S. currency—later counted as $45,820 in cash—inside a brown coat located

 behind the passenger seat.

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        Officer Mabry then radioed for the assistance of a K-9 unit to perform a drug sweep on

 the van. Sometime later, Officer Dollmatsch responded to the scene with his drug-dog, “Benno,”

 who showed a positive “aggressive alert” on the driver’s door seam as well as the front passenger

 door seam. Benno’s alert indicated the odor of one of several specified narcotics. Officer

 Dollmatsch then searched the vehicle and found a clear plastic bag of crack cocaine on the rear

 seat and a freshly torn clear plastic bag and white powder under the rear seat. Officer George,

 who continued to search the van, also discovered a loaded 9 mm handgun concealed in a side

 compartment in the wall behind the driver’s seat.

        Altogether, the police recovered $51,302 in cash (which tested positive for drug residue),

 roughly three grams of crack cocaine, approximately eight grams of marijuana, a concealed and

 loaded 9 mm pistol, and five cell phones. Upon concluding the traffic stop and vehicle search,

 which the officers testified lasted at least forty-five minutes, the police took Ledbetter to

 Columbus Police Department Headquarters. The police did not, however, file criminal charges

 or a traffic citation against Ledbetter stemming from the December 18, 2007 traffic stop.

                            B. The Subpoenaed Cell Phone Records

        The Government also has charged Ledbetter with several murders, including the April 16,

 2006 murder of Allen Johnson (in Columbus) and the November 3, 2007 murder of Rodriccos

 Williams (in Pickerington). (Doc. 300). The Columbus Police Department and the Pickerington

 Police Department issued multiple subpoenas to obtain cell phone records in connection with

 these murder investigations. The subpoenas, each of which was issued to a third-party cell

 phone carrier like Verizon, Nextel, etc., requested basic subscriber information and records of

 incoming and outgoing phone calls during specified time periods, as follows:




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 Law Enforcement          Third Party          Time Period            Telephone              Subscriber/User 1
      Agency                                                            Number
 Columbus PD             AT&T              April 16-27, 2006       (614)-769-8054       N/A 2
 Columbus PD             Verizon           April 16-17, 2006       (614)-499-3467       Robert Ledbetter
 Columbus PD             Nextel            N/A 3                   (614)-339-6310       Tony Jones
 Columbus PD             Nextel            April 16-17, 2006       (614)-402-4671       Rico Maye
 Columbus PD             Nextel            April 16-17, 2006       (614)-769-8054       China Hester
 Pickerington PD         Verizon           November 3-4, 2007      (614)-499-3467       Robert Ledbetter
 Pickerington PD         Revol             November 1-4, 2007      (614)-622-4582       Jonathan Brown
 Pickerington PD         Verizon           November 1-4, 2007      (614)-365-1344       Latonia Williams
 Pickerington PD         Verizon           November 1-4, 2007      (614)-365-1949       Rodriccos Williams
 Pickerington PD         Ameritech         November 1-4, 2007      (614)-920-1147       Latonia Williams

           The Columbus Police Department’s investigative subpoenas were issued under the

 authority of the Franklin County Municipal Court. The Pickerington Police Department’s grand

 jury subpoenas were issued under the authority of the Fairfield County Grand Jury. In response

 to the subpoenas, various custodians of records provided the basic subscriber information and

 call records requested, as well as some historical cell-site location information.

           Ledbetter initially challenged all ten subpoenas identified in the chart above in his

 Motion to Suppress. (Doc. 600). In its Response in Opposition, the Government argued that

 Ledbetter lacked a reasonable expectation of privacy in the phone records of other individuals,

 and thus, argued that he lacked standing to move for their suppression.                          (Doc. 615).

 Accordingly, during the suppression hearing, Ledbetter’s lead-counsel informed the Court that

 Ledbetter now sought to challenge only two of the subpoenas: the two subpoenas that targeted

 telephone number (614) 499-3467, which apparently belonged to Ledbetter.


 1
   The subpoena responses sometimes indicated a different account holder than the subscriber/user listed in
 this chart. For example, Robert Ledbetter’s line, (614) 499-3467, appeared under the name of his mother,
 Debra Bankston. This chart reflects the Government’s assertions at to whom each phone line belonged,
 and Ledbetter did not challenge any of these assertions during the suppression hearing.
 2
   AT&T informed the Columbus Police Department that the requested number belonged to another
 carrier, Sprint/Nextel. Accordingly, AT&T could not provide the requested information.
 3
     This subpoena sought only subscriber information, without a request for call records.


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                               C. The Instant Motion to Suppress

        Ledbetter moves to suppress any evidence recovered during the December 18, 2007

 traffic stop. He challenges the initial stop, the Terry frisk, and the follow-on vehicle search.

 As to the initial stop, Ledbetter argues that his driving complied with all applicable laws and that

 “[h]e did not commit any traffic violation[s]” that evening. (Doc. 600). He thus contends that

 “the police did not have any legitimate basis to stop [him]” and suggests that the stop must have

 been a “pretext” for something else. (Id.). Accordingly, he argues that any evidence seized must

 be suppressed under the “fruit of the poisonous tree” doctrine. (Id.). As to the Terry frisk,

 Ledbetter argues that the police “did not have probable cause to order [him] out of his car” and

 lacked “reasonable suspicion that [he] was armed and dangerous,” thus dooming the officers’

 actions and requiring suppression. (Id.). Finally, as to the vehicle search, Ledbetter argues that

 “the police unlawfully extended [his] detention” by forcing him to wait nearly forty-five minutes

 for arrival of the K-9 Unit. (Id.). He further contends that, even if the delay were warranted,

 Benno’s alert was insufficient to establish probable cause to search the van because “the K-9 dog

 and/or its handler were not properly credentialed and . . . the search/sniff was not conducted in

 accordance with scientifically approved methods.” (Id.).

        Ledbetter also moves to suppress two cell phone records obtained in connection with the

 murder investigations described above. (Id.). He contends that, in the absence of valid search

 warrants, the police were not entitled to obtain those records because they might contain

 historical cell-site location information. (Id.). Ledbetter argues that his cell phone records

 obtained by the Columbus Police Department under investigative subpoenas must be suppressed

 for an additional reason because they were not obtained in connection with a “grand jury” or

 “trial” subpoena, and thus, their collection violated the Stored Communications Act. (Id.).



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                                  II. STANDARD OF REVIEW

         The Fourth Amendment protects against unreasonable searches and seizures. To comply

 with it, law enforcement personnel generally must obtain a warrant, supported by probable cause,

 from a neutral and detached judicial officer before searching people or their houses, papers, and

 effects for evidence of criminal wrongdoing. Riley v. California, 134 S. Ct. 2473, 2482 (2014);

 Kentucky v. King, 131 S. Ct. 1849, 1856 (2011). These requirements “guarantee[] the privacy,

 dignity, and security of persons against certain arbitrary and invasive acts by officers of the

 Government or those acting at their discretion.”       See Skinner v. Ry. Labor Execs.’ Ass’n,

 489 U.S. 602, 613-14 (1989) (quotation omitted). Searches and seizures conducted without a

 warrant are presumptively unreasonable. King, 131 S. Ct. at 1856. Nevertheless, because

 “the ultimate touchstone of the Fourth Amendment is ‘reasonableness,’” the warrant requirement

 is subject to several exceptions. Id. (quotation omitted).

        Defendants who seek to suppress evidence allegedly obtained in violation of the Fourth

 Amendment bear the burden of proof. See, e.g., United States v. Rodriguez-Suazo, 346 F.3d 637,

 643 (6th Cir. 2003) (“It is well settled that in seeking suppression of evidence the burden of

 proof is upon the defendant to display a violation of some constitutional or statutory right

 justifying suppression.” (quotation omitted)); United States v. Blakeney, 942 F.2d 1001, 1015

 (6th Cir. 1991) (“In the context of a motion to suppress, the moving party has the burden of

 establishing that the evidence was secured by an unlawful search.”). The Sixth Circuit has made

 clear that this burden of proof extends to both “the burden of production and persuasion.”

 United States v. Patel, 579 F. App’x 449, 453 (6th Cir. 2014) (“The defendant who requests

 suppression bears the burden of production and persuasion.”).




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                                          III. ANALYSIS

        Ledbetter challenges three aspects of his December 18, 2007 encounter with law

 enforcement: (1) the initial traffic stop; (2) the Terry frisk; and (3) the subsequent vehicle search.

 Fairly parsed, each aspect of the encounter complies with the Fourth Amendment. Ledbetter also

 challenges the warrantless acquisition of his cell phone records. Ledbetter, however, lacked a

 legitimate expectation of privacy in those records. Accordingly, the Court DENIES Ledbetter’s

 motion to suppress in its entirety.

                             A. The Initial Traffic Stop Was Lawful.

        Ledbetter’s motion to suppress hinges largely on whether the initial traffic stop was

 lawful. If the initial stop was unlawful, then “the evidence and statements obtained from that

 illegality must be excluded as fruit of the poisonous tree.” United States v. Gross, 550 F.3d 578,

 583 (6th Cir. 2008) (quotation omitted). If, however, the initial stop was lawful, then the Court

 must consider the subsequent frisk and vehicle search. Id. Here, the initial stop was lawful.

        Ordinary traffic stops constitute a “seizure” within the meaning of the Fourth

 Amendment. Delaware v. Prouse, 440 U.S. 648, 653 (1979). As such, “any evidence seized

 during an illegal traffic stop must be suppressed as fruits of the poisonous tree.” United States v.

 Blair, 524 F.3d 740, 748 (6th Cir. 2008) (quotation omitted). Police officers, however, may

 lawfully stop a vehicle whenever they have probable cause to believe that a traffic violation has

 occurred. United States v. Jackson, 682 F.3d 448, 453 (6th Cir. 2012). Under the “probable

 cause” standard, officers must have “a reasonable grounds for belief, supported by less than

 prima facie proof but more than mere suspicion,” that a traffic infraction occurred. Blair,

 524 F.3d at 748. The severity of the infraction is irrelevant: “officers may stop vehicles for any

 infraction, no matter how slight.” Id. (brackets omitted); see also Jackson, 682 F.3d at 453.



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        Based on the uncontroverted testimony of Officers Mabry and George, the Court

 concludes that the initial traffic stop was lawful due to their independent observations that

 Ledbetter crossed a solid dividing line and initiated a left-hand turn—both without properly

 signaling. The Court bases this finding solely on the responding officers’ personal observations,

 without resorting to any common knowledge the officers might have gained from their

 communications with Detective Whitacre regarding his earlier surveillance.              Because the

 arresting officers observed these two traffic violations, the initial traffic stop was lawful,

 regardless of the officers’ subjective intent in effectuating it. Blair, 524 F.3d at 748 (“[P]olice

 officers may stop vehicles for any infraction, no matter how slight, even if the officer’s real

 purpose was a hope that narcotics or other contraband would be found as a result of the stop.”

 (brackets and quotation omitted)); United States v. Herbin, 343 F.3d 807, 810 (6th Cir. 2003)

 (holding that observation by narcotics agents of a vehicle running a red light justified stopping

 the vehicle, regardless of the agents’ admitted subjective intent to investigate for drug activity).

        Officers Mabry and George testified that they witnessed Ledbetter change lanes without

 signaling (crossing a solid dividing line in the process) while traveling northbound on Kelton

 Avenue.     Ledbetter’s actions in so doing provided probable cause for the traffic stop.

 See Columbus Municipal Code § 2131.14(a) (“No person shall . . . move right or left upon a

 street . . . without giving an appropriate signal . . . .”); United States v. Akram, 165 F.3d 452, 455

 (6th Cir. 1999) (“[The officer] had probable cause to stop the truck because it failed to signal

 before changing lanes, in violation of Ohio law.” (citing companion state-law provision

 governing lane changes on state highways)). Put simply, “a driver’s failure to use a turn signal

 provides probable cause to justify a traffic stop irrespective of the officer’s subjective intent.”

 Jackson, 682 F.3d at 453 (collecting cases).



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        Officers Mabry and George likewise testified that they witnessed Ledbetter initiate a

 left-hand turn from Kelton Avenue onto Cole Street without signaling first. Instead, Ledbetter

 activated his turn signal mid-way through the turn, again providing probable cause for the initial

 traffic stop. See Ohio Revised Code § 4511.39(A) (“No person shall turn a vehicle . . . without

 giving an appropriate signal in the manner hereinafter provided. When required, a signal of

 intention to turn . . . shall be given continuously during not less than the last one hundred feet

 traveled by the vehicle . . . before turning . . . .”); United States v. Ware, 465 F. App’x 487, 493

 (6th Cir. 2012) (“[T]he district court determined that the detectives had probable cause to stop

 the car when [the defendant] committed a traffic violation by turning right without using a turn

 signal. Because probable cause existed for the traffic stop, the district court correctly held that

 the officers’ subjective or pretextual motivation for making the stop was not relevant . . . .”);

 United States v. Miller, 413 F. App’x 841, 843 (6th Cir. 2011) (same—failure to signal a turn

 provided probable cause for traffic stop, regardless of officers’ subjective intent).

        Because Officers Mabry and George credibly testified that they observed these two traffic

 violations, they were entitled to initiate a traffic stop of Ledbetter’s van, notwithstanding

 Detective Whitacre’s surveillance and his incomplete (and unlawful) request that they conduct an

 investigatory stop for suspected narcotics trafficking.

        B. The Terry Frisk Was Reasonable Under the Totality of the Circumstances.

        Because the initial traffic stop was lawful, the Court next must consider the officers’

 decision to order Ledbetter out of the van for a Terry frisk. See United States v. Campbell,

 549 F.3d 364, 372 (6th Cir. 2008) (“The key issue in the present case, however, is whether

 [the officer] exceeded the permissible scope of the initial stop by removing [the defendant] from

 the car and conducting a patdown.”).



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        Lawful stops do not necessarily carry with them the authority to conduct a Terry frisk.

 Id. Instead, “to proceed from a stop to a frisk, the police officer must reasonably suspect that the

 person stopped is armed and dangerous.” Arizona v. Johnson, 555 U.S. 323, 326-27 (2009); see

 also United States v. Tillman, 543 F. App’x 557, 560 (6th Cir. 2013).             The “reasonable

 suspicion” standard for a Terry frisk requires a lower showing than probable cause: “the issue is

 whether a reasonably prudent man in the circumstances would be warranted in the belief that his

 safety or that of others was in danger.” Tillman, 543 F. App’x at 560 (quotation omitted);

 see also Campbell, 549 F.3d at 372 (same).

        As the Supreme Court has made clear, Officer Mabry’s initial decision to order Ledbetter

 out of the van does not violate the Fourth Amendment’s proscription of unreasonable searches

 and seizures. Johnson, 555 U.S. at 331; see also United States v. Hockenberry, 730 F.3d 645,

 658 (6th Cir. 2013) (“Once a motor vehicle has been lawfully detained . . . the police officers

 may order the driver to get out . . . without violating the Fourth Amendment[] . . . .”

 (quotation omitted)).   Rather, under the Fourth Amendment’s reasonableness inquiry, “the

 government’s ‘legitimate and weighty’ interest in officer safety . . . outweighs the ‘de minimis’

 additional intrusion of requiring a driver, already lawfully stopped, to exit the vehicle.” Johnson,

 555 U.S. at 331 (quoting Pennsylvania v. Mimms, 434 U.S. 106, 110-11 (1977) (per curiam)).

        Whether Officer Mabry had reasonable suspicion to believe that Ledbetter was armed and

 dangerous, thus justifying a Terry frisk, presents a closer question. The Government argues that

 the frisk was warranted under the totality of the circumstances, including: (1) Ledbetter’s failure

 to pull over immediately; (2) Ledbetter’s nervous behavior; (3) Ledbetter’s furtive movements;

 and (4) contextual considerations. Standing alone, none of these factors is sufficient to justify

 the frisk. Acting in concert, however, these factors support Officer Mabry’s decision.



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             1. The Government Properly Frames the Reasonable Suspicion Standard.

        Under the reasonable suspicion standard, courts must look at “the totality of the

 circumstances” to determine whether the arresting officer had a reasonable suspicion that the

 detainee was armed and dangerous. See United States v. Arvizu, 534 U.S. 266, 273-74 (2002);

 see also United States v. Shank, 543 F.3d 309, 315 (6th Cir. 2008) (holding that reasonable

 suspicion must be “based on articulable facts, taken as a whole”). Police officers may “draw on

 their own experience and specialized training to make inferences from and deductions about the

 cumulative information available to them that might well elude an untrained person.” Shank,

 543 F.3d at 315. Moreover, officers need not be absolutely certain that the person frisked was

 armed and dangerous. Tillman, 543 F. App’x at 560. The Supreme Court has acknowledged that

 “traffic stops are especially fraught with danger to police officers,” Johnson, 555 U.S. at 330

 (quotation omitted), and this Circuit likewise accepts that officers “must often make split-second

 decisions, frequently on the basis of incomplete information,” Tillman, 543 F. App’x at 563.

   2. Ledbetter’s Failure to Pull Over Immediately Supports the Officer’s Reasonable Suspicion.

        The Government first points to Ledbetter’s failure to pull over immediately to support the

 Terry frisk. Officers Mabry and George both testified that, when they activated their cruiser’s

 lights and siren, Ledbetter exhibited signs of flight, including completing the turn, pulling over

 momentarily in an apparent feint, speeding up again, and then ultimately coming to a stop nearly

 one-tenth of a mile away, at the intersection of Cole Street and Miller Avenue. Officer Mabry

 testified that based on his extensive experience, including numerous traffic stops involving

 weapons and drugs, drivers present a “major red flag” when they first slow down or pull over

 momentarily only to speed off again. He indicated that this behavior is consistent with efforts to

 reach for (or conceal) a weapon or to “plan the next move.”



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        The Court takes Officer Mabry’s observations seriously: “Headlong flight—wherever it

 occurs—is the consummate act of evasion: It is not necessarily indicative of wrongdoing, but it is

 certainly suggestive of such.” Illinois v. Wardlow, 528 U.S. 119, 124 (2000). The Sixth Circuit

 repeatedly has held that “a driver’s behavior may be relevant, as erratic driving or obvious

 attempts to evade officers can support a reasonable suspicion.” Hoover v. Walsh, 682 F.3d 481,

 495 (6th Cir. 2012) (quoting United States v. Brignoni-Ponce, 422 U.S. 873, 885 (1975));

 see also United States v. McCauley, 548 F.3d 440, 445 (6th Cir. 2008) (“[T]he failure of the

 vehicle to pull over once [the officer] activated his lights and the subsequent conduct of

 [the defendant] provided additional reason for him to conclude that criminal activity was indeed

 under foot.”); Watkins v. City of Southfield, 221 F.3d 883, 889 (6th Cir. 2000) (“[T]he fact that

 [the driver] refused to stop when he was directed to do so contributed to the officers’ reasonable

 suspicion . . . .”); cf. United States v. Carter, 558 F. App’x 606, 612-13 (6th Cir. 2014) (holding

 that defendant’s attempt to flee (on foot) when he first saw police cruiser provided additional

 support “to search him for a weapon”).

        Here, both arresting officers testified that Ledbetter’s driving became erratic once they

 activated their cruiser’s lights and siren, including headlong flight down Cole Street. Indeed,

 rather than pulling over the van immediately, which was possible given the officers’ testimony

 that traffic was light that evening, Ledbetter first completed his turn and then performed an

 apparent fake-out pullover before speeding off again. Officer Mabry remains entitled to rely on

 his experiences and training to make inferences from and deductions about Ledbetter’s behavior.

 See Shank, 543 F.3d at 315. This includes Officer Mabry’s conclusion that Ledbetter’s erratic

 driving amounted to a “major red flag” that he potentially was armed and dangerous, reaching

 for or concealing a weapon, or planning his next move.



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          3. Ledbetter’s Nervous Behavior Supports the Officer’s Reasonable Suspicion.

        The Government next points to Ledbetter’s nervous behavior during the initial moments

 of the traffic stop to support Officer Mabry’s Terry frisk.             The Government is correct:

 “nervous, evasive behavior is a pertinent factor in determining reasonable suspicion.”           See

 Wardlow, 528 U.S. at 124. Nevertheless, the Sixth Circuit has warned that “factors such as a

 person’s nervousness . . . while part of the reasonable suspicion analysis, are given little weight.”

 United States v. Johnson, 482 F. App’x 137, 145 (6th Cir. 2012) (quotations omitted); see also

 United States v. Noble, 762 F.3d 509, 522 (6th Cir. 2014) (“Time and again, we have said that

 nervousness—even       extreme    nervousness—is      an   unreliable     indicator   of   someone’s

 dangerousness, especially in the context of a traffic stop.” (quotation omitted) (collecting cases)).

        According to Officer Mabry’s testimony, when he first made contact with Ledbetter, he

 appeared nervous, was sweating profusely (despite it being December in Ohio), was breathing

 heavily, and had glassy eyes and shaky hands. These sorts of behaviors lend some support to the

 officer’s reasonable suspicion that Ledbetter was armed and dangerous. See, e.g., Tillman,

 543 F. App’x at 562 (defendant was sweating, avoided direct eye contact, and had shaky voice);

 United States v. Mays, 643 F.3d 537, 539, 542 (6th Cir. 2011) (defendant was “scared, nervous,

 [and] twitching”). That said, because “[m]any citizens become nervous during a traffic stop,

 even when they have nothing to hide or fear,” United States v. Richardson, 385 F.3d 625, 630-31

 (6th Cir. 2004), the Court will not place much emphasis on Ledbetter’s behavior, especially

 “where, as here, the ‘nervous indicators’ [the] officer cites are . . . relatively commonplace

 behaviors” such as general apprehensiveness, making or avoiding direct eye contact, sweating, or

 trembling, see Johnson, 482 F. App’x at 145.




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       4. Ledbetter’s Furtive Movements Also Support the Officer’s Reasonable Suspicion.

        The Government also points to Ledbetter’s furtive movements to support the Terry frisk.

 Indeed, “[f]urtive movements . . . may also properly contribute to an officer’s suspicions.” See

 United States v. Caruthers, 458 F.3d 459, 466 (6th Cir. 2006) (collecting cases). Nevertheless,

 this factor, like Ledbetter’s nervous appearance, should “not be invoked cavalierly” in finding

 reasonable suspicion. Id.

        According to Officer Mabry’s testimony, when he first approached the driver’s side of

 the van, he noticed that Ledbetter’s upper torso was turned toward the passenger seat, with his

 hands near the center console, out of Officer Mabry’s field of vision. Officer Mabry testified

 that, in his experience, Ledbetter’s “bladed” positioning away from the driver’s side door was

 odd and triggered further suspicion. Under analogous circumstances, the Sixth Circuit has found

 that an officer reasonably could have concluded that the defendant was attempting to reach for a

 weapon.   See United States v. Bost, 606 F. App’x 821, 825 (6th Cir. 2015) (holding that

 defendant who “reached his hand between the center console and a child’s seat in the front

 passenger seat” might be attempting to grasp for weapon, thus justifying Terry frisk); Tillman,

 543 F. App’x at 562 (holding that defendant who “quickly reached over to the passenger side of

 the car two times” could have could have been grabbing a weapon, thus contributing to

 reasonable suspicion he was armed and dangerous); United States v. Graham, 483 F.3d 431, 439

 (6th Cir. 2007) (holding that officer who learned via tip that defendant was armed and dangerous

 possessed reasonable suspicion for additional reason that defendant “dip[ped] his right shoulder

 toward the floor as if he was placing something under his seat . . . . [a] furtive movement . . .

 consistent with an attempt to conceal a firearm”).       Thus, this factor also weighs in the

 Government’s favor.



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         5. Contextual Considerations Also Support the Officer’s Reasonable Suspicion.

        Finally, the Government noted in its briefing that the traffic stop and Terry frisk occurred

 at night, during the winter months of Ohio (when it plainly is dark), in a purportedly high-crime

 area. Although Officer Mabry’s testimony did not dwell on these factors, he did confirm them.

 For example, he testified that the frisk occurred around 8:30 p.m., and that both he and his

 partner routinely patrolled the south-side precinct in which the traffic stop occurred and had

 made numerous arrests for drug and weapon offenses on that beat.                These contextual

 considerations, which the Court must accept as true, provide further justification for the Terry

 frisk. See Caruthers, 458 F.3d at 467 (noting that “contextual considerations” such as the late

 hour and presence in “a high-crime area” contributed to officer’s reasonable suspicion).

        In sum, and under the totality of the circumstances, Officer Mabry was justified in

 conducting a brief Terry frisk to ensure his own safety and the safety of his partner. Recent

 decisions from the Sixth Circuit support the Terry frisk in this case.         See, e.g., Tillman,

 543 F. App’x at 561-63 (focusing on defendant’s furtive movements, nervous behavior, and

 failure to comply with commands to keep hands in plain view to find reasonable suspicion

 justifying Terry frisk), Mays, 643 F.3d at 542 (holding that defendant’s brief attempt to turn

 away from officers, nervous demeanor, placing of hands in pockets, and presence in area in

 which the crime had reportedly occurred constituted reasonable suspicion justifying Terry frisk);

 United States v. Paulette, 457 F.3d 601, 606 (6th Cir. 2006) (concluding that reasonable

 suspicion existed for Terry frisk based on defendant’s hand movements, efforts to evade police

 officers, and presence in a high-crime area). Accordingly, the Court concludes that Officer

 Mabry had reasonable suspicion to believe that Ledbetter was armed and dangerous, thus

 warranting the Terry frisk.



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                               C. The Vehicle Search Was Lawful.

        Finally, the Court must consider whether the officers’ warrantless search of the van

 complied with the Fourth Amendment. There are three aspects to consider: (1) Officer George’s

 limited search of the passenger compartment; (2) the investigative delay in procuring the

 drug-dog, Benno; and (3) the officers’ full-blown search of the van following Benno’s alert.

         1. Officer George’s Limited Search of the Passenger Compartment Was Lawful.

        The officers’ reasonable suspicion that Ledbetter was armed and dangerous justified not

 only the Terry frisk, but also a limited search of the passenger compartment of the van.

 Michigan v. Long, 463 U.S. 1032, 1049 (1983); Graham, 483 F.3d at 439-40 (“[I]f an officer

 possesses a reasonable suspicion that a suspect is armed and dangerous, he may conduct a brief

 protective sweep of the suspect’s vehicle, so long as that search is constrained to places where a

 weapon may be hidden.”). Accordingly, for the reasons described in Section III.B., supra,

 Officer George was permitted to conduct a limited search of the passenger compartment of

 Ledbetter’s van.

     2. The Investigative Delay Was Reasonable Under the Circumstances and Thus Lawful.

        Similarly, the roughly forty-five minute investigative delay that occurred while the

 officers procured the drug-dog was reasonable under the circumstances, and thus lawful, because

 the officers had reasonable suspicion that criminal activity was afoot—namely, drug trafficking.

 See, e.g., United States v. Davis, 430 F.3d 345, 354 (6th Cir. 2005) (holding that a “thirty to

 forty-five minute[]” delay while procuring a drug-sniffing dog does not violate the Fourth

 Amendment); United States v. Orsolini, 300 F.3d 724, 730 (6th Cir. 2002) (finding a Terry

 investigation reasonable where entire investigation lasted less than one hour with approximately

 thirty-five minutes spent waiting for the canine unit to arrive).



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        Against this backdrop, Ledbetter points to the Supreme Court’s recent decision in

 Rodriguez v. United States, 135 S. Ct. 1609 (2015), to support his argument that the officers

 detained him longer than necessary. In Rodriguez, the Court held that while a police officer

 “may conduct certain unrelated checks during an otherwise lawful traffic stop . . . . he may not

 do so in a way that prolongs the stop, absent the reasonable suspicion ordinarily demanded to

 justify detaining an individual.” Id. at 1615 (emphasis added). The Court therefore concluded

 that police officers may not “extend an otherwise-completed traffic stop, absent reasonable

 suspicion, in order to conduct a [drug] dog sniff”—even where the delay for the canine sweep

 added only “seven to eight minutes” to the traffic stop. Id. at 1613-14, 1616.

        Rodriguez, however, offers no support to Ledbetter’s suppression argument. Unlike in

 Rodriguez, where the Supreme Court declined to address whether reasonable suspicion existed,

 Officers Mabry and George possessed reasonable suspicion to continue their investigation due to

 their detection of large amounts of cash and marijuana, coupled with Ledbetter’s nervous

 behavior.   Compare id. at 1616-17 (finding that reasonable suspicion remained an “open”

 question for consideration on remand), with United States v. Morris, 533 F. App’x 538, 541

 (6th Cir. 2013) (finding reasonable suspicion due primarily to “a large amount of cash in the

 vehicle . . . [which the officer believed] was possibly narcotics proceeds”), United States v.

 Noble, 364 F. App’x 961, 964 (6th Cir. 2010) (finding that mere scent of marijuana “constituted

 a change of circumstances that suggested [defendant] was engaged in illegal activity, which

 authorized further detention so the officers could investigate”), and United States v. Davis,

 514 F.3d 596, 609-10 (6th Cir. 2008) (finding reasonable suspicion where police officer “noticed

 what appeared to him to be bits of marijuana stuck to the thighs and abdomen area of

 [defendant’s] pants”).



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        The absence of reasonable suspicion was critical to Rodriguez’s holding. The Supreme

 Court not only framed the question presented that way, Rodriguez, 135 S. Ct. at 1614

 (“We granted certiorari to resolve . . . whether police routinely may extend an otherwise-

 complete traffic stop, absent reasonable suspicion . . . .” (emphasis added)), but also cabined its

 holding to situations where reasonable suspicion is lacking, id. at 1615 (“[Police] may not

 [conduct unrelated investigative checks during a traffic stop] in a way that prolongs the stop,

 absent the reasonable suspicion ordinarily demanded to justify detaining the individual.”

 (emphasis added)). Thus, Rodriguez offers no support to Ledbetter. See United States v. Bah,

 794 F.3d 617, 629 (6th Cir. 2015) (distinguishing Rodriguez from the case in-question because

 “the officers here had reasonable suspicion to continue [the suspect’s] detention”).

        Put simply, the investigative delay, which lasted roughly forty-five minutes, was

 reasonable under the circumstances given the responding officers’ suspicion of drug trafficking

 activity and their desire to confirm or dispel that suspicion through the use of a drug-dog. Davis,

 430 F.3d at 354.

                    3. The Officers Had Probable Cause for a Full Vehicle Search.

        Finally, the officers possessed probable cause to conduct a full vehicle search. Under the

 “automobile exception” to the warrant requirement, police officers may perform a warrantless

 search of a vehicle so long as they “have probable cause to believe the vehicle contains

 contraband or evidence of criminal activity.” United States v. Lyons, 687 F.3d 754, 769-70

 (6th Cir. 2012). This exception applies “even in nonexigent circumstances and even when the

 officer’s decision to stop the vehicle was pretextual.” Id. Here, the officers had probable cause

 to search the van.




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        According to his testimony and investigative summary of the incident, Officer Mabry

 discovered two large stacks of U.S. currency totaling nearly $5,500 on Ledbetter during the

 Terry frisk. Officer Mabry also felt a bulge that he believed to be drugs. Before removing the

 plastic bag from Ledbetter’s pants, Ledbetter apparently admitted that it was marijuana. Then,

 while performing the passenger-compartment search of the van, Officer George located two

 plastic grocery bags containing bulk U.S. currency totaling $45,820. In light of this additional

 evidence, the officers became concerned that Ledbetter was trafficking in drugs or engaging in

 some other illegal activity. As such, Officer Mabry requested the assistance of a K-9 unit. When

 the dog handler arrived and ran Benno around Ledbetter’s van, Benno alerted to multiple areas of

 the vehicle, thereby indicating the presence of the odor of one of several specified narcotics. 4

        These facts easily establish probable cause to conduct a warrantless search of the van.

 See United States v. Simpson, 520 F.3d 531, 544-45 (6th Cir. 2008) (holding that probable cause

 for warrantless vehicle search existed “upon the alert of a trained narcotics-detection dog”);

 United States v. McGhee, 672 F. Supp. 2d 804, 813 (S.D. Ohio 2009) (holding that officers who

 observed marijuana in plain view and “found a large amount of cash on defendant’s person,

 suggesting that the occupants of the vehicle were involved in drug activity,” had probable cause

 for a warrantless vehicle search). Moreover, such probable cause extends to “every part of the

 vehicle and all containers found therein in which the object of the search could be hidden.”

 United States v. Winters, 782 F.3d 289, 304 (6th Cir. 2015) (quotation omitted). Accordingly,

 the officers’ full-blown search of the van was proper. Id.

 4
   Ledbetter initially argued, with little explanation, that Benno and/or his handler were not properly
 trained and did not act in accordance with scientifically approved methods. (Doc. 600). Ledbetter’s
 counsel apparently abandoned this attack during the suppression hearing, when he stipulated to entering
 the drug-dog handler’s canine use report and probable cause affidavit into evidence. Such a probable
 cause affidavit passes muster in the Sixth Circuit. See United States v. Berry, 90 F.3d 148, 153-54
 (6th Cir. 1996) (“We find that the information contained in the affidavit in this case was sufficient to
 establish the training and reliability of the drug-detecting dog.”).

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        Every aspect of the December 18, 2007 traffic stop complied with the Fourth

 Amendment. Officers Mabry and George had legal justification for the initial traffic stop due to

 probable cause of a traffic infraction. Officer Mabry, moreover, had reasonable suspicion to

 believe Ledbetter was armed and dangerous, thus warranting a Terry frisk and a passenger-

 compartment search of his van for weapons. Upon completion of the frisk and the limited

 vehicle search, the officers gained reasonable suspicion that the van may contain evidence of

 other criminal activity and contraband—namely, drug trafficking. This reasonable suspicion

 then ripened into probable cause upon the drug-dog’s alert, entitling the officers to search the

 vehicle more thoroughly for evidence of criminal wrongdoing.          Thus, the police lawfully

 obtained evidence from the traffic stop, and Ledbetter’s motion to suppress must fail.

             D. The Court Will Not Suppress the Subpoenaed Cell Phone Records.

        Ledbetter next challenges the seizure of his cell phone records in connection with

 investigations into the Allen Johnson and Rodriccos Williams murders. Ledbetter alleges two

 bases to suppress those records: (1) neither the Columbus Police Department nor the

 Pickerington Police Department sought search warrants to obtain the records, thus violating the

 Fourth Amendment; and (2) the Columbus Police Department’s use of “investigative”

 subpoenas, as opposed to “grand jury” or “trial” subpoenas, violated the Stored Communications

 Act, 18 U.S.C. § 2703, which governs law enforcement efforts to obtain records of certain

 electronic communications. Ledbetter’s arguments fall short, however, because he lacked a

 reasonable expectation of privacy in the cell phone records that law enforcement officials

 obtained.   Moreover, suppression is not an available remedy for violations of the Stored

 Communications Act, assuming a violation even occurred. Accordingly, Ledbetter’s efforts to

 suppress his cell phone records fails.



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      1. Ledbetter Lacked a Reasonable Expectation of Privacy in His Cell Phone Records.

        To present a viable Fourth Amendment claim, a defendant must have “a legitimate

 expectation of privacy in the invaded place.” Rakas v. Illinois, 439 U.S. 128, 143 (1978). As the

 defendant, Ledbetter bears the burden of establishing that he “had a legitimate expectation of

 privacy in the area searched or items seized.” United States v. Mathis, 738 F.3d 719, 729

 (6th Cir. 2013). A legitimate expectation of privacy exists when a defendant, “by his conduct,

 has exhibited an actual (subjective) expectation of privacy—that is, has sought to preserve

 something as private—and when his subjective expectation of privacy is one that society is

 prepared to recognize as reasonable.” Id. (quotation omitted).

        Under these principles, Ledbetter cannot challenge the seizure of his cell phone records

 because he lacked a reasonable expectation of privacy in those records. As the Supreme Court

 has explained, “only defendants whose Fourth Amendment rights have been violated” should be

 permitted “to benefit from the [exclusionary] rule’s protections.” Rakas, 439 U.S. at 134.

 Typically, “the issuance of a subpoena to a third party to obtain the records of that party does not

 violate the rights of a defendant, even if a criminal prosecution is contemplated at the time the

 subpoena is issued.”     United States v. Miller, 425 U.S. 435, 444 (1976) (bank records).

 The reason for this rule is simple: “[W]hen an individual reveals private information to another,

 he assumes the risk that this confidant will reveal that information to the authorities, and if that

 occurs the Fourth Amendment does not prohibit governmental use of that information.”

 United States v. Jacobsen, 466 U.S. 109, 117 (1984). Thus, to assert a Fourth Amendment

 challenge to a subpoena issued to a third party, a defendant must “demonstrate that he had a

 legitimate expectation of privacy attaching to the records obtained.” United States v. Phibbs,

 999 F.2d 1053, 1077 (6th Cir. 1993).



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        Under this framework, courts consistently have concluded that individuals lack a

 reasonable expectation of privacy in basic telephone records. Smith v. Maryland, 442 U.S. 735,

 745 (1979) (upholding use of pen register because defendant did not have reasonable expectation

 of privacy “in the phone numbers he dialed”); United States v. Clenney, 631 F.3d 658, 666

 (4th Cir. 2011) (affirming denial of motion to suppress cell phone records because “phone

 customers have no constitutionally cognizable privacy interests in basic subscriber

 information”); Phibbs, 999 F.2d at 1077 (holding that defendant lacked standing to challenge

 subpoenas for telephone records because he did not have a justifiable privacy interest in them).

        Applying the “third-party doctrine” from United States v. Miller and Smith v. Maryland,

 “most federal judges . . . have concluded that defendants have no reasonable expectation of

 privacy in historical cell-site data” either. United States v. Jones, 908 F. Supp. 2d 203, 211

 & n.9 (D.D.C. 2012) (collecting cases); see also, e.g., United States v. Davis, 785 F.3d 498, 511

 (11th Cir. 2015) (en banc) (“[Defendant] has no subjective or objective reasonable expectation of

 privacy in MetroPCS’s business records showing the cell tower locations that wirelessly

 connected his calls at or near the time of six of the seven robberies.”); In re United States for

 Historical Cell Site Data, 724 F.3d 600, 615 (5th Cir. 2013) (“Cell site data are business records

 and should be analyzed under that line of Supreme Court precedent.”); Gipson v. Sheldon,

 No. 3:13-cv-1997, 2015 WL 1980244, at *10 (N.D. Ohio May 1, 2015) (“[T]here is no

 reasonable expectation of privacy in cell phone records . . . or in cell site location information.”).

 A majority of courts follow the “third-party doctrine” when assessing requests for historical cell-

 site location data because the defendants: (1) voluntarily conveyed their location information to

 the cell phone company when using their phones; and (2) the companies maintained that

 information in the ordinary course of business. Jones, 908 F. Supp. 2d at 211.



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        Under this line of authority, Ledbetter lacked a reasonable expectation of privacy in his

 basic cell phone records (including subscriber information and numbers dialed and received), as

 well as historical cell-site location information voluntarily shared with, and collected by, his cell

 phone carrier. See Huon v. Mudge, 597 F. App’x 868, 875 (7th Cir. 2015) (“Huon had no

 constitutionally protected expectation of privacy in his subscriber information or the phone

 numbers he dialed.”); Davis, 785 F.3d at 511 (“[L]ike the bank customer in Miller and the phone

 customer in Smith, [defendant] has no subjective or objective reasonable expectation of privacy

 in MetroPCS’s business records showing the cell tower locations that wirelessly connected his

 calls at or near the time of six of the seven robberies.”). Thus, his motion to suppress must fail.

        True enough, as Justice Sotomayor recently observed, “it may be necessary to reconsider

 the premise that an individual has no reasonable expectation of privacy in information

 voluntarily disclosed to third parties.” See United States v. Jones, 132 S. Ct. 945, 957 (2012)

 (Sotomayor, J., concurring) (stating that “[t]his approach is ill suited to the digital age”). But the

 Supreme Court expressly deferred ruling on those “difficult questions” of privacy and voluntary

 third-party disclosures to another day. Id. Until that day arrives, this Court must follow Miller,

 Smith, and other “third-party doctrine” cases that foreclose Ledbetter’s motion to suppress.

 See Davis, 785 F.3d at 514 (“Justice Sotomayor, writing alone, raised a question, but did not

 even purport to answer it.”); id. (“We review the concurrences [in Jones] in detail because they

 leave the third-party doctrine untouched and do not help [defendant’s] case.”).

        Ledbetter’s generalized reliance on the majority holding in United States v. Jones and

 Riley v. California, 134 S. Ct. 2473 (2014), similarly is misplaced. Both cases address different

 factual scenarios than the subpoena of an individual’s cell phone records, and neither case

 supports the position that Ledbetter asks this Court to adopt.



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        For example, in Jones, the Supreme Court held that law enforcement’s attachment of a

 GPS device to the defendant’s vehicle, and the related use of that device to track the defendant’s

 movements in real time over the course of twenty-eight days, constituted a “search” under the

 Fourth Amendment for which a warrant was required. 132 S. Ct. at 949. The Court rooted its

 rationale in the doctrine of common-law trespass, a point the majority made efforts to highlight:

 “It is important to be clear about what occurred in this case: The Government physically

 occupied private property for the purpose of obtaining information.” Id.; see also id. at 957

 (Sotomayor, J., concurring) (“[T]he Government’s physical intrusion on Jones’ Jeep supplies a

 narrower basis for decision. I therefore join the majority’s opinion.”). Further stressing the

 importance of the physical nature of the intrusion, the Court expressly declined to address the

 constitutionality of similar types of surveillance “without an accompanying trespass.” Id. at 954

 (majority opinion).

        In contrast to the conduct at issue in Jones, the police officers in this case did not

 physically invade Ledbetter’s property, nor did they conduct any real-time monitoring of his

 movements. Instead, the police simply obtained historical cell phone information in the form of

 business records maintained by his cell phone carrier—records that, in any event, cannot

 “identify [the] user’s precise location, but instead only identif[y] the cell phone tower nearest a

 user at the time of a call,” Jones, 908 F. Supp. 2d at 206, or even less reliably, the location of a

 tower selected due to “physical obstructions and topography,” “network traffic,” or “a variety of

 [other] factors,” United States v. Evans, 892 F. Supp. 2d 949, 952 (N.D. Ill. 2012). See generally

 Douglas Starr, What Your Cell Phone Can’t Tell the Police, The New Yorker, June 26, 2014

 (“[Tower] selection is determined by load-management software that incorporates dozens of

 factors, including signal strength, atmospheric conditions, and maintenance schedules.”).



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        Post-Jones decisions have distinguished the case on similar grounds.        See, e.g., Davis,

 785 F.3d at 513-16 (“[T]he majority holding in Jones turned on the physical intrusion of the

 government placing a GPS device on a private vehicle. That is not this case. The government’s

 obtaining MetroPCS records, showing historical tower locations, did not involve a physical

 intrusion on private property or a search at all.” (citation omitted)); United States v. Skinner,

 690 F.3d 772, 779-80 (6th Cir. 2012) (“The majority in Jones based its decision on the fact that

 the police had to physically occupy private property for the purpose of obtaining information.

 That did not occur in this case.” (quotation omitted)); Gipson, 2015 WL 1980244, at *9-10

 (distinguishing Jones because subpoena for cell phone records and cell site location information

 in Gipson did not involve a physical invasion). So too, here.

        Riley v. California offers no refuge either. There, the Court addressed whether a police

 officer may, without a warrant, search the digital data on a suspect’s cell phone incident to a

 lawful arrest. Riley, 134 S. Ct. at 2480. The Court’s holding—that police typically require a

 warrant for such a search, id. at 2485—is of little help here, because Riley involved a physical

 search of the contents of a cell phone, factors that made the police activity more invasive and

 less consistent with fundamental notions of privacy. The subpoenas that Ledbetter challenges

 did not involve a physical search of his property, nor did they seek the digital contents of his cell

 phone. Accordingly, Riley is inapposite. See United States v. Guerrero, 768 F.3d 351, 359-60

 (5th Cir. 2014) (noting that Riley did not address “the different question of whether a cell phone

 owner has a reasonable expectation of privacy in information held by a ‘third party’ service

 provider” and noting that Supreme Court may in the future “reconsider the third party doctrine in

 the context of historical cell site data”); Gipson, 2015 WL 1980244, at *10 (finding that Riley did

 not control because “no information was gathered directly from the phone itself”).



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         All told, under the present state of the law, Ledbetter lacked a reasonable expectation of

 privacy in his cell phone records. Consequently, the police were not required to obtain a search

 warrant, and Ledbetter’s argument for suppression under the Fourth Amendment must fail.

 See Guerrero, 768 F.3d at 361 (“The district court thus properly admitted the historical cell site

 location data at trial.”).

              2. Suppression Is Not a Remedy Under the Stored Communications Act.

         Finally, Ledbetter argues that the Court must suppress the cell phone records obtained by

 the Columbus Police Department for an independent reason—namely, that the Columbus Police

 Department’s investigative subpoenas failed to comply with a provision from the Stored

 Communications Act, codified at 18 U.S.C. § 2703. That statute, which Congress since has

 amended, provided that a government entity may require a provider of electronic

 communications services to disclose a record or other specified information concerning the

 subscriber or customer of the service (not including the contents of communications) “when the

 government entity uses an administrative subpoena authorized by a Federal or State statute or a

 Federal or State grand jury or trial subpoena” or obtains a warrant, court order, or consent of the

 subscriber/customer. Id. § 2703(c)(1)-(2) (2006).

         Although both parties devote a lot of ink to debating whether the investigative subpoenas,

 issued under the authority of the Franklin County Municipal Court, complied with this provision,

 the Court need not resolve that issue. Regardless of whether a violation occurred, Ledbetter’s

 problem “is that suppression is not a remedy for a violation of the Stored Communications Act.”

 Guerrero, 768 F.3d at 358. That Act “has a narrow list of remedies, and—unlike the Wiretap

 Act, see 18 U.S.C. § 2515—suppression is not among them.” Id. (citing remedy provisions from

 Stored Communications Act, 18 U.S.C. §§ 2707-2708).



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        Indeed, because the Stored Communications Act omits suppression as a remedy and

 seemingly rules out such relief by stating that “[t]he remedies and sanctions described in this

 chapter are the only judicial remedies and sanctions for non-constitutional violations of this

 chapter,” 18 U.S.C. § 2808 (emphasis added), every Circuit to have considered the issue has

 rejected Ledbetter’s argument. See Guerrero, 768 F.3d at 358; Huon, 597 F. App’x at 875

 (“[I]f there was a violation of the Stored Communications Act . . . suppression of the evidence

 would not have been an appropriate remedy.”); Clenney, 631 F.3d at 667 (“Congress has made

 clear that it did not intend to suppress evidence gathered as a result of § 2703(c) violations.”);

 United States v. Perrine, 518 F.3d 1196, 1202 (10th Cir. 2008) (“[V]iolations of the [Act] do not

 warrant exclusion of evidence.”); United States v. Steiger, 318 F.3d 1039, 1049 (11th Cir. 2003)

 (“The SCA creates criminal and civil penalties, but no exclusionary remedy . . . .”); United States

 v. Smith, 155 F.3d 1051, 1056 (9th Cir. 1998) (“[T]he Stored Communications Act does not

 provide an exclusion remedy.”). Although the Sixth Circuit has yet to weigh-in, the dominant

 view described above comports with this Circuit’s general limitation on the suppression of

 evidence stemming from statutory violations. See United States v. Abdi, 463 F.3d 547, 556

 (6th Cir. 2006) (“[T]he exclusionary rule is an appropriate sanction for a statutory violation only

 where the statute specifically provides for suppression as a remedy . . . .”).

        Accordingly, and regardless of whether the Columbus Police Department violated the

 Stored Communications Act through its use of “investigative” subpoenas issued by the Franklin

 County Municipal Court, Ledbetter is not entitled to the suppression of his phone records.

                                        IV. CONCLUSION

        For these reasons, the Court DENIES Ledbetter’s motion to suppress, (Doc. 600).




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        IT IS SO ORDERED.


                                        s/ Algenon L. Marbley
                                      ALGENON L. MARBLEY
                                      UNITED STATES DISTRICT JUDGE

 DATED: December 2, 2015




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